511 F.2d 1161
    INVESTORS THRIFT CORPORATION, Appellant,v.Joe B. HUNT, Insurance Commissioner of the State ofOklahoma, and Receiver of Community National LifeInsurance Company, Substitute Defendantfor Community National LifeInsurance Company, Appellee.
    No. 74--1544.
    United States Court of Appeals,Eighth Circuit.
    Submitted Jan. 7, 1975.Decided Jan. 28, 1975.
    
      H. Clay Robinson, Fort Smith, Ark., for appellant.
      Don A. Smith, Fort Smith, Ark., for appellee.
      Before JOHNSEN, Senior Circuit Judge, STEPHENSON and WEBSTER, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this action Investors Thrift Corporation seeks damages for Community National Life Insurance Company's alleged anticipatory breach of a stock purchase agreement wherein Community National agreed to purchase all the voting stock of Investors Thrift if certain conditions were met.1  The District Court held that Investors Thrift had failed to sustain its burden of proof and dismissed this action as being without merit.
    
    
      2
      We affirm the dismissal on the basis of the District Court's opinion.  (Investors Thrift Corp. v. Hunt, 387 F.Supp. 517 (W.D. Ark. 1974)).  Judge Harris has accurately stated the complicated facts which gave rise to this case and has properly applied the law to these facts.  No purpose would be served in attempting to elaborate on his well-considered opinion.
    
    
      
        1
         This is the latest in a series of related cases.  Other published opinions in this line include: Vanderboom v. Sexton, 460 F.2d 362 (8th Cir. 1972); Investors Thrift Corp. v. Sexton, 347 F.Supp. 1207 (W.D. Ark. 1972); In re Peoples Loan &amp; Inv. Co., 316 F.Supp. 13 (W.D. Ark. 1970); Vanderboom v. Sexton, 294 F.Supp. 1178 (W.D. Ark. 1969), rev'd, 422 F.2d 1233 (8th Cir.), cert. denied, 400 U.S. 852, 91 S.Ct. 47, 27 L.Ed.2d 90 (1970); In re Peoples Loan &amp; Inv. Co., 292 F.Supp. 594 (W.D. Ark. 1968), rev'd, 410 F.2d 851 (8th Cir. 1969); City Nat'l Bank v. Vanderboom, 290 F.Supp. 592 (W.D. Ark. 1968), aff'd, 422 F.2d 221 (8th Cir.), cert. denied, 399 U.S. 905, 90 S.Ct. 2196, 26 L.Ed.2d 560 (1970); Miskimins v. City Nat'l Bank, 248 Ark. 1194, 456 S.W.2d 673 (1970).  See generally Investors Thrift Corp. v. Hunt, 387 F.Supp. 517, 521, n. 8 and accompanying text (W.D. Ark. 1974)
      
    
    